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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,              §
                                                  §
         Plaintiffs,                              §
                                                  §
 v.                                               §     Case No. 5:21-cv-00844-XR
                                                  §
 GREGORY W. ABBOTT, et al.,                       §
                                                  §
         Defendants.                              §

            NOTICE REGARDING PENDING MOTION TO CONSOLIDATE


       The State Defendants filed a Partially-Opposed Motion to Consolidate on September 14,

2021, in La Unión del Pueblo Entero v. Abbott, No. 5:21-cv-00844 (W.D. Tex.) (hereinafter LUPE) (ECF

No. 24). In that Motion, the State Defendants asked the Court to consolidate four cases filed in the

Western District of Texas that challenge Senate Bill 1— La Unión del Pueblo Entero v. Abbott, No. 5:21-

cv-00844 (W.D. Tex.), OCA-Greater Houston v. Esparza, No. 1:21-cv-00780 (W.D. Tex.), LULAC Texas

v. Esparza, No. 1:21-cv-00786 (W.D. Tex.), and Houston Justice v. Abbott, No. 5:21-cv-848 (W.D. Tex.).

The same day, and before the State Defendants filed their motion, Judge Biery entered an order

transferring the LUPE case to this Court’s docket sua sponte.

       On September 15, 2021, Judge Pitman entered orders transferring two other cases challenging

Senate Bill 1 to this Court’s docket—OCA-Greater Houston v. Esparza, No. 1:21-cv-00780 (W.D. Tex.)

(ECF No. 8) and LULAC Texas v. Esparza, No. 1:21-cv-00786 (W.D. Tex.) (ECF No. 9).

       The State Defendants hereby provide notice that, with all four cases challenging Senate Bill 1

now before this Court, none of the plaintiffs in these four cases currently oppose consolidation. On

September 17, counsel for the OCA-Greater Houston plaintiffs stated that they no longer oppose




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consolidation. 1 The State Defendants’ motion remains pending in the LUPE case.




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           Plaintiff Isabel Longoria in the LUPE case, and the plaintiffs in the LULAC Tex. case, have

taken no position on the issue of consolidation.



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Date: September 21, 2021             Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on September 21, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Jeffrey M. White
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